     Case
      Case2:10-cr-00209-KJD-VCF
           2:10-cr-00209-KJD -VCF Document
                                  Document54
                                           53             Filed
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 5
                UNITED STATES DISTRICT COURT
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                     DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,                   )       CASE NO.: 2:10-cr-209-KJD-VCF
                                                 )
11                  PLAINTIFF,                   )
                                                 )       ORDER
12   VS.                                         )
                                                 )
13   TARL BRANDON,                               )
     COREY SMILEY, and                           )
14   CARDELL ROBINSON,                           )
                                                 )
15         DEFENDANTS.                           )
                                                 )
16

17         Based on the pending Application of the Government, and good cause appearing therefor,

18         IT IS HEREBY ORDERED that the defendants and offenses charged in case numbers 2:09-cr-

19   494-KJD-VCF, 2:10-cr-209-KJD-VCF and 2:10-cr-407-KJD-RJJ are joined for trial.

20         DATED this _____         March
                        15 day of ____________________ 2012.

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                                         UNITED STATES DISTRICT JUDGE
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     Case
      Case2:10-cr-00209-KJD-VCF
           2:10-cr-00209-KJD -VCF Document
                                  Document54
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 1                          ELECTRONIC CERTIFICATE OF SERVICE

 2      I, the undersigned, hereby certify that I am an employee of the United States Attorney's Office,

 3   District of Nevada, and that on this day an electronic copy of the foregoing MOTION TO JOIN

 4   CASES FOR JOINT TRIAL was electronically served on counsel of record.

 5      Date: March 13, 2012.

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 7
                                  /S/ Pamela J. Mrenak
 8                                PAMELA J. MRENAK
                                  Legal Assistant
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